 Fill in this information to identify the case:
 Debtor name Silverado Stages, Inc.
 United States Bankruptcy Court for the: DISTRICT OF ARIZONA                                                                                          Check if this is an

 Case number (if known):                2:18-bk-12203                                                                                                 amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Genuine Parts Co.                                               parts                                                                                                $1,044,967.48
 dba NAPA Auto
 Parts
 Attn: Mike Picardi,
 Div. IBS Mgr
 2811 W. Thomas
 Road
 Phoenix, AZ 85017
 Bus & Truck                                                                            Disputed                                                                        $629,638.37
 Service, Inc.
 240 Prado Rd.
 San Luis Obispo,
 CA 93401
 Nineveh Holding,                                                vendor debt                                                                                            $420,020.29
 LLC
 21678 N 57th Ave
 Glendale, AZ 85308
 Robinson Oil Corp.                                              fuel                                                                                                   $279,815.51
 955 Martin Avenue
 Santa Clara, CA
 95050
 Employment                                                      employment             Disputed                                                                        $250,000.00
 Development                                                     claims
 Department - CA
 P.O. Box 826880,
 MIC 83
 Sacramento, CA
 94280-0001
 State of California                                             sales taxes            Contingent                                                                      $200,000.00
 Franchise Tax
 Board
 P.O. Box 942867
 Sacramento, CA
 94267-0011




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                                                                     Main Document    Page 1 of 3
 Debtor    Silverado Stages, Inc.                                                                             Case number (if known)         2:18-bk-12203
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Amelia Romero                                                   vendor debt                                                                                            $183,091.00
 dba/Romero's Super
 Wash
 2043 Harvard St.,
 Apt. B
 Attn: Amelia
 Romero
 N.Las Vegas, NV
 89030
 MOTEL 6/STUDIO 6                                                potential liability    Disputed                                                                        $144,753.69
 P.O. Box 846175                                                 for acquired debt
 Dallas, TX
 75284-6175
 Protective Insurance                                            insurance                                                                                              $128,634.00
 111 Congressional
 Blvd. Ste500
 Carmel, IN 46032
 American Nomadic                                                contract claim         Disputed                                                                        $125,000.00
 Tours LLC
 dba Expedition
 America Att: Robert
 Fried
 6011 Wood Fern
 Drive
 Rancho Palos
 Verdes, CA 90275
 United States Fire                                              insurance                                                                                              $115,800.17
 Insur                                                           deductible
 P.O.Box 29898
 NEW YORK, NY
 10087-9898
 M2 Lease Funds,                                                 Bus Wash                                           $108,978.00                        $0.00            $108,978.00
 LLC
 175 N. Patrick Blvd.,
 #140
 Brookfield, WI 53045
 Buchalter, A                                                    services                                                                                                 $96,909.26
 Professional Law
 Corp.
 999 WILSHIRE
 BLVD, STE 1500
 LOS ANGELES, CA
 90017-2457
 Western States                                                  fuel                                                                                                     $78,306.24
 Petroleum, Inc.
 (WSP)
 450 S 15th Ave
 Phoenix, AZ 85007
 Protective Insurance                                            insurance                                                                                                $73,523.44
 Company                                                         deductible
 111 Congressional
 Blvd..Ste500
 Carmel, IN 46032

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 Debtor    Silverado Stages, Inc.                                                                             Case number (if known)         2:18-bk-12203
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                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Lancer Insurance                                                2010 Setra S417                                    $253,186.00               $180,323.00                 $72,863.00
 Company                                                         Motor Coach VIN
 370 West Park Ave.                                              0911
 Long Beach, NY
 11561-9004
 Nineveh Holding,                                                reimbursement for                                                                                        $66,192.64
 LLC                                                             property taxes
 21678 N 57th Ave
 Glendale, AZ 85308
 SC FUELS                                                        fuel                                                                                                     $65,679.96
 1800 West Katella
 Ave.Ste 400
 P.O.Box 4159
 Orange, CA
 92863-4159
 Blue Cross Blue                                                 vendor debt                                                                                              $64,247.23
 Shield of Arizona
 c/o Cash Control
 P O Box 81049
 Phoenix, AZ 85069
 Hager Pacific                                                   vendor debt                                                                                              $63,214.15
 Acquisitions, LLC
 c/o Hager Pacific
 Properties
 16027 Ventura Blvd.
 #550
 Encino, CA 91436




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